              Entered on Docket August 19, 2019
                                                                  Below is the Order of the Court.



                                                                  _____________________
                                                                  Brian D. Lynch
                                                                  U.S. Bankruptcy Judge
                                                                  (Dated as of Entered on Docket date above)




         _____________________________________________________________________________




Form oreafn (12/2015)

/
                                   UNITED STATES BANKRUPTCY COURT
                                        Western District of Washington
                                            1717 Pacific Avenue
                                                 Suite 2100
                                             Tacoma, WA 98402


In
Re:                                                       Case Number: 19−42064−BDL
       Michael Dean Gibson and Sarah Michelle Gibson      Chapter: 7

       Debtor(s).

                 ORDER TENTATIVELY DISAPPROVING REAFFIRMATION AGREEMENT


The Court, having reviewed the Reaffirmation Agreement between the debtor(s) and Les Schwab Tire Centers of
Washington, Inc. filed August 15, 2019 finds:


1. Federal Rule of Bankruptcy Procedure 4008(a) requires that a reaffirmation agreement be accompanied by a Cover
Sheet for Reaffirmation Agreement, Official Form B427. The Reaffirmation Agreement Cover Sheet can be found
online at www.uscourts.gov/forms/bankruptcy−forms.

       a. A completed Reaffirmation Agreement Cover Sheet, Official Form B427, has not been filed.

2. In accordance with Federal Rule of Bankruptcy Procedure 9009, Reaffirmation Documents in Form B2400A or
Form B2400A/B ALT as prescribed by the Bankruptcy Code, 11 U.S.C. §524(k), must be filed for consideration of a
reaffirmation agreement.

       a. Form B2400A or Form B2400 A/B ALT Reaffirmation Agreement has not been used.

       b. The reaffirmation documents submitted do not include:

          1. Creditor's name and address;


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         2. Total amount of debt reaffirmed, including:
             all fees and costs accrued as of date of disclosure statement;
         3. Annual percentage rate (APR);
         4. Description of collateral;
         5. Original purchase price or original amount of loan;
         6. Description of credit agreement;
         7. Description of any changes to the credit agreement made as part of reaffirmation agreement;
         8. Borrower's, and co−borrower's, if any, signature and date;
         9. Debtor's counsel's, if any, signature and date;
         10. Creditor's signature and date;
         11. Debtor's statement in support of reaffirmation agreement, including:
            monthly income;
            monthly expenses, including payments on post−bankruptcy debt and other reaffirmation agreements;
            explanation of how debtor can afford payments, if required (applicable only if income less expenses does
            not leave enough to make payments on this reaffirmation agreement);

       12. Other deficiency: Only every other page of reaffirmation agreement cover sheet, reaffirmation
documents, and credit agreement are included.

2. Local Rules W.D. Wash. Bankr. 4008−1(c) requires the attachment of copies of:

       a copy of the underlying credit agreement and changes, if any, made in connection with the reaffirmation;

       statement as to the date, nature, and amount of any alleged default, and how it is to be treated under the
       reaffirmation agreement;

       statement showing creditor's name and address, the name, address if different, and telephone number of the
       creditor's representative, and that person's certification that the procedural forms filed in support of the
       reaffirmation do not vary in any material respect from the Procedural Forms described above;

       copies of the security agreement and evidence of perfection if a security interest is claimed (if a vehicle is at
       issue, copy of Vehicle Certificate of Ownership) or a statement setting forth why perfection is not required;
       and

       if the reaffirmation is of a purportedly nondischargeable debt, the creditor's sworn declarations or affidavits
       establishing a prima facie case for nondischargeability and the amount of the debt.

   The checked items were not filed.



IT IS THEREFORE ORDERED:

   1. The Reaffirmation Agreement is NOT APPROVED;

    2. This disapproval will become final, without further order, UNLESS a complete Form B2400A or
Form B2400A/B ALT, signed by both creditor and debtor(s), with copies attached of the omitted documents, is
attached to the enclosed Request for Reconsideration of Disapproved Reaffirmation Agreement and filed
WITHIN 30 DAYS.

 3. Debtor(s) may voluntarily make the payments called for in the reaffirmation agreement, BUT CREDITOR
MAY NOT ENFORCE THE AGREEMENT UNLESS AND UNTIL IT IS APPROVED BY THE COURT.


                                                    ///End of Order///




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                                UNITED STATES BANKRUPTCY COURT
                                     Western District of Washington
                                         1717 Pacific Avenue
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In
Re:                                                     Case Number: 19−42064−BDL
       Michael Dean Gibson and Sarah Michelle Gibson    Chapter: 7

       Debtor(s).

      REQUEST FOR RECONSIDERATION OF DISAPPROVED REAFFIRMATION AGREEMENT



Attached are a completed Form B2400A or B2400A/B ALT and/or the previously omitted documents. We request
reconsideration.




__________________________________
Print or type Name of Creditor



                                                       ________________________________________________
                                                           Signature of Debtor (if not represented by an attorney)



                                                       ________________________________________________
                                                       Signature of Joint Debtor (if not represented by an attorney)



                                                           Date: ________________________________________



                                                       ________________________________________________
                                                                        Signature of Debtor's Attorney (if any)



                                                            Date: _______________________________________




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